OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No: 5:05CR9-17
                   SHELIA DENISE W HITE
                                                                       )   USM No: 19960-058
Date of Previous Judgment: June 19, 2006                               )   Denzil Forrester
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    29                Amended Offense Level:                                        27
Criminal History Category: III               Criminal History Category:                                    III
Previous Guideline Range: 120  to 135 months Amended Guideline Range:                                      120       to 120   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   The defendant originally received a term of imprisonment of the statutory minimum sentence, 120
                     months. However, further reductions of the guideline range would reduce the range below the
                     mandatory statutory minimum. If Amendment 706 (Retroactive Crack Cocaine Amendment) had
                     been in place at the original sentencing, the guideline range would still have been restricted to the
                     mandatory minimum sentence of 120 months, per USSG §5G1.1(c)(2).
III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated June 19, 2006,                     shall remain in effect.
IT IS SO ORDERED.

Order Date:        April 28, 2010


Effective Date: April 28, 2010
                     (if different from order date)


             Case 5:05-cr-00009-KDB-DCK                       Document 1325             Filed 04/29/10       Page 1 of 2
Case 5:05-cr-00009-KDB-DCK   Document 1325   Filed 04/29/10   Page 2 of 2
